Case 6:22-cv-06091-SOH          Document 61        Filed 11/15/23      Page 1 of 2 PageID #: 1134




                          IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                  HOT SPRINGS DIVISION

 WESTERN-SOUTHERN LIFE
 ASSURANCE COMPANY                                                                STAKEHOLDER

 v.                                    Case No. 6:22-cv-6091

 DOROTHY FAYE RILEY; LINDA S.
 MITCHELL; and CHRISTINE WHITT,
 in her capacity as trustee of THE JOAN
 DONNA SULICH REVOCABLE LIVING
 TRUST                                                                                CLAIMANTS

 And in the Alternative

 CHRISTINE WHITT, in her capacity as trustee
 of THE JOAN DONNA SULICH REVOCABLE
 LIVING TRUST                                                                           PLAINTIFF

 v.

 ARVEST INVESTMENTS, INC.                                                            DEFENDANT

                                              ORDER

        Before the Court is a Joint Motion to Dismiss Pursuant to Rule 41(a)(2) filed by Claimant

 Christine Whitt, in her capacity as Trustee of the Joan Donna Sulich Revocable Living Trust,

 Claimant Linda S. Mitchell, and Claimant Dorothy Faye Riley. ECF No. 59. The moving parties

 state that they have entered into a settlement agreement that fully resolves all claims against all

 parties in this case. The moving parties ask the Court to dismiss with prejudice all claims in this

 case. Upon consideration, the Court finds that the Joint Motion to Dismiss (ECF No. 59) should

 be and hereby is GRANTED. If any party desires that the terms of settlement be a part of the

 record, those terms should be reduced to writing and filed with the court within thirty (30) days of

 the entry of this Judgment. The court retains jurisdiction to vacate this order and to reopen this

 action upon cause shown that the settlement has not been completed and further litigation is

 necessary.
Case 6:22-cv-06091-SOH          Document 61        Filed 11/15/23      Page 2 of 2 PageID #: 1135




        Further, the Court directs the Clerk of the Court to disburse the interpleaded funds held in

 the Court registry plus ninety percent (90%) of the interest earned on deposit to Farrar & Williams,

 PLLC at 1720 Higdon Ferry Road, #202, Hot Springs, AR 71913. The Clerk shall collect the

 Registry Fee of ten percent (10%) of the interest earned on deposit in accordance with Local Rule

 67.1(m). Upon disbursement of funds, this matter shall be DISMISSED WITH PREJUDICE.

        IT IS SO ORDERED, this 15th day of November, 2023.

                                                              /s/ Susan O. Hickey
                                                              Susan O. Hickey
                                                              Chief United States District Judge




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